c              Case 5:14-cv-00078-TBR Document 1 Filed 04/21/14 Page 1 of 4 PageID #: 1
                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF KENTUCKY
                                     - - - - -DIVISION
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                                                                      WESrN. DiST. KENTUCKY

    name of plaintiff(s)
    V.                                                     Civil

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    Q<JO        G, .\ "l ~dK"",


                                           COMPLAINT




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                                                       zip code    area code, phone number
         (if more than one plaintiff, provide the same information for each plaintiff
          below):                  ·
         Case 5:14-cv-00078-TBR Document 1 Filed 04/21/14 Page 2 of 4 PageID #: 2



3.     Defendant,   (Ld v G n (j: .~cl ·pa ·,a LO. Ce..             1 ives at, or its
       business   is located at 22 oo cJ \ o ·, c ·D ~
                                street address

     tr\a c\ ·l     son v \ l \e... • -----,---------· _,\37--:r-Jd:-'--'---._ _
       city                            county             staFe
       L-\~t.431 .\c,tot
      zip code
       {if more than one defendant, provide the same information for each defendant
        listed above):

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4.     Statement of claim {State as briefly as possible the facts of your case. Describe
       how each defendant is involved. Include also the names of other persons involved,
       dates, and places. Be as specific as possible. You may use additional paper
       if necessary):

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       Case 5:14-cv-00078-TBR Document 1 Filed 04/21/14 Page 3 of 4 PageID #: 3




     c. _________________________________________________________


     d. _________________________________________________________




6.   Request for a Jury Trial

     I (We) hereby certify under penalty that the above petition is true to the best
     of my (our) information, knowledge, and belief.
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     Signed this       \   '6""       day                                                  19




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                                              Sigfiiture of plaintiffS
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Case 5:14-cv-00078-TBR Document 1 Filed 04/21/14 Page 4 of 4 PageID #: 4   \   ~   .)
